  Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 1 of 7 PageID #:2396



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


United States of America               )
                                       )
     v.                                )   No. 13 CR 772-2
                                       )
Joseph Faulkner                        )
                                       )
                                       )
                                       )

                      MEMORANDUM OPINION AND ORDER

     This multi-defendant case charges putative members of the

Insane Imperial Vice Lords street gang with a range of unlawful

conduct    including     racketeering,       armed     violence,      and   drug

distribution.       Defendant     Joseph    Faulkner,     allegedly    a    high-

ranking member of the gang, is charged in Counts I (racketeering

conspiracy), II (conspiracy to commit assault with a dangerous

weapon), III (use of a firearm during a crime of violence), and

IX (conspiracy to distribute heroin, cocaine, and marijuana).

Faulkner previously pled guilty, in Case No. 11 CR 120 (N.D.

Ill.), to a two-count superseding information charging the use

of a communication facility in facilitation of a drug-related

felony.

     On September 8, 2014, Faulkner filed a pro se motion to

dismiss the indictment in this case, arguing that because his

sentence in the earlier case reflected enhancements for the same

drug- and firearm-related conduct that is at the heart of the
    Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 2 of 7 PageID #:2397



current     charges       against     him,       these     charges    amount    to     an

unconstitutional          attempt    to   punish      him    twice    for   the      same

criminal     conduct.        The    government       responded       that   Faulkner’s

argument is barred by Witte v. U.S. 515 U.S. 389 (1995), and

Faulkner     filed    a     counseled     reply—two,        actually 1—in    which     he

argues    that    Witte     notwithstanding,        double     jeopardy     principles

compel dismissal of the instant indictment.                      For the following

reasons, I deny Faulkner’s motion.

                                          I.

       Faulkner’s plea agreement in his 2011 case stated that on

December 27, 2007, and February 28, 2008, Faulkner had telephone

conversations        with    an     individual       who     was,    unbeknownst      to

Faulkner,      cooperating         with   the      government.         During     these

conversations, Faulkner agreed to meet the individual to conduct

drug transactions.            The transactions were later completed as

arranged.      At sentencing, the parties and the court agreed that

the correct guidelines sentencing range was 57-71 months, but

the government sought and received an above guidelines sentence


1
  The briefing schedule entered on defendant’s motion provided
that any reply by defendant was to be filed by October 2, 2014.
Faulkner’s counsel did, indeed, file a reply on that date, then
filed a second, unauthorized “additional” reply on October 6,
2014 (the day before ruling was to issue). Although the latter
document was captioned “Defendant’s Motion to File Additional
Reply Combined With His Additional Reply in Support of
Defendant’s Motion to Dismiss Based Upon Former Jeopardy,” it
was neither filed as a motion on the docket nor noticed for
hearing as L.R. 5.3 requires of all motions.
                                             2
     Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 3 of 7 PageID #:2398



on     the    ground     that    ' 3552(a)     factors     supported      such       an

enhancement.        Specifically, the government pointed to Faulkner’s

previous convictions for armed violence and fleeing from the

police with a firearm, as well as Faulkner’s own admission to

extensive heroin trafficking over a period of roughly fifteen

years.       The court concluded that an above-guidelines sentence

was     warranted      because    Faulkner’s     “criminal      history    is     not

accurately reflective of the person that he actually was, the

level of drug dealing that he was engaged in, and the serious

impact that it has on the community.”                 The district court also

noted      that    the    characteristically       violent     nature     of     drug

distribution “is reflected in some of the past history of the

defendant.”

                                         II.

        The Double Jeopardy Clause of the Fifth Amendment provides

that no person “shall be subject for the same offense to be

twice put in jeopardy of life or limb.”                  U.S. Const. Amend. V.

It “affords a defendant three basic protections,” prohibiting:

1) a second prosecution for the same offense after an acquittal,

2) a second prosecution for the same offense after conviction,

and 3) multiple punishments for the same offense.”                         Ohio v.

Johnson, 467 U.S. 493, 498 (1984).                In Witte v. U.S., 515 U.S.

389 (1995), the Court held that prosecution for conduct that was



                                          3
  Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 4 of 7 PageID #:2399



previously the basis for a sentencing enhancement in a separate

case did not violate the Double Jeopardy Clause.

      In    Witte,    the     defendant       pled   guilty    to    a    charge    of

attempting to possess marijuana with the intent to distribute.

Id. at 393.       At sentencing, the court considered evidence that

the   defendant      was    also   involved     in   cocaine   transactions        and

enhanced his sentence based on that conduct.                        Id. at 393-94.

Defendant    argued     that    his   later     prosecution    for       the   cocaine

offenses violated the Double Jeopardy Clause.

      The Court rejected Witte’s argument, holding that “the use

of evidence of related criminal conduct to enhance a defendant’s

sentence for a separate crime within the authorized statutory

limits does not constitute punishment for that conduct within

the meaning of the Double Jeopardy Clause.”                   Witte, 515 U.S. at

399 (citing Williams v. Oklahoma, 358 U.S. 576 (1959)).                            The

Court reiterated its explicit rejection, in Williams, of “the

claim that double jeopardy principles bar a later prosecution or

punishment for criminal activity where that activity has been

considered at sentencing for a separate crime.”                          Id. at 389.

See also Watts, 519 U.S. at 154 (“sentencing enhancements do not

punish a defendant for crimes of which he was not convicted, but

rather increase his sentence because of the manner in which he

committed the crime of conviction”) (per curiam) (citing Witte,

515 U.S. at 402-03).

                                          4
  Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 5 of 7 PageID #:2400



       Turning to the present case, I note at the outset that as

Faulkner      acknowledges,       he    bears   the   burden   of    establishing,

prima facie, that both prosecutions are for the same offense,

i.e., that the conduct used to enhance his sentencing in the

2011 case is the same as the conduct charged in the indictment

in this case.            See United States v. Doyle, 121 F.3d 1078, 1089

(7th   Cir.    1997).        In   this    connection,     while     the   government

acknowledges        an    “overlap”     between    the   conduct    considered      at

sentencing and the conduct charged in Counts I and IX, Faulkner

points   to    no    evidence     that    the     specific   conduct      alleged   in

Counts II and III, which relate to violent conduct allegedly

committed on January 15, 2010, was considered by Judge Kendall

at his earlier sentencing.               Faulkner argues that Judge Kendall

“made frequent references to the use of firearms,” and to “Mr.

Faulkner’s regular use of guns during gang activity and numerous

acts of armed violence.”               But general statements such as these

do not, without more, establish that she considered the specific

conduct alleged in Counts II and III.                 I need not linger on this

issue, however, because even assuming that Faulkner had made a

prima facie showing that all four counts in the instant case

were considered at his previous sentencing, his double jeopardy

argument runs headlong into Witte.

       Tacitly conceding that Witte, on its face, bars his double

jeopardy      claim,       Faulkner    attacks     the   Court’s     rationale      as

                                           5
  Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 6 of 7 PageID #:2401



“befuddling”    and    insists    that       the   case   is   “antiquated,       as

subsequent     Supreme    Court    Decisions       have   altered    sentencing

perceptions.”      But while the cases Faulkner cites—Apprendi v.

New Jersey, 530 U.S. 446 (2000), U.S. v. Booker, 543 U.S. 220

(2005), and Alleyne v. United States, 133 S. Ct. 2151 (2013)

(overruling Harris v. United States, 536 U.S. 545 (2002))—have

unquestionably cabined the discretion of sentencing judges to

impose sentences outside the range authorized by a jury verdict,

none of these cases overrules the principle articulated in Witte

and Watts.     Indeed, in U.S. v. Waltower, 643 F.3d 572 (7th Cir.

2011), the Seventh Circuit explained at length why Watts remains

good law in the wake of Apprendi and Booker.                     Id. at 575-578

(observing that Watts has not been “overturned by the Supreme

Court’s line of cases beginning with Apprendi” and explaining

that, to the contrary, “Booker itself suggests that Watts is

still good law.”).

     Nor does Faulkner’s argument gain any traction from his

citation to United States v. Gurley, 860 F. Supp. 2d 95 (D.

Mass. 2012), which explicitly addressed “the exact issue” that

was not before the Court in Witte and Watts, and is not before

me in this case, namely, “whether the jury verdict authorized”

the sentencing enhancement at issue.               Id. at 115.

     Finally, for the sake of completeness, I briefly address

the four-sentence argument Faulkner raises in his unauthorized,

                                         6
  Case: 1:13-cr-00772 Document #: 721 Filed: 10/09/14 Page 7 of 7 PageID #:2402



“additional reply,” which is that the Double Jeopardy Clause

bars his prosecution because the government agreed to dismiss

the original indictment in his 2011 case with prejudice at the

time   of   sentencing.        In   this   connection,   Faulkner    offers       an

unadorned     citation    to   the    Seventh     Circuit’s   observation,        in

United States v. Davis, 2014 WL 4402121 (7th Cir. 2014) that

dismissal with prejudice means the government is “surrendering

the ability to reindict the defendant[].”                Davis, however, was

about the finality of a lower court decision for the purpose of

appeal, and had nothing at all to do with application of the

Double      Jeopardy     Clause.           Faulkner’s    belated,     barebones

contention that Davis compels dismissal of the indictment in

this case is unavailing.

                                       III.

       For the foregoing reasons, defendant Faulkner’s motion to

dismiss the indictment on grounds of double jeopardy is denied.


                                               ENTER ORDER:




                                      _____________________________
                                             Elaine E. Bucklo
                                       United States District Judge
Dated: October 9, 2014




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